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Richard Stern
Michael Luskin
Alex Talesnick

Counsel for Senior Lender Group

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

    In re:                                                        Chapter 11

    REPUBLIC METALS REFINING                                      Case No. 18-13359 (SHL)
    CORPORATION, et al.,1
                                                                  (Jointly Administered)
                               Debtors.



                 VERIFIED STATEMENT OF LUSKIN, STERN & EISLER LLP
             PURSUANT TO FEDERAL RULE OF BANKRUPTCY PROCEDURE 2019

             Luskin, Stern & Eisler LLP (“LS&E”) hereby submits this verified statement (this

“Statement”) pursuant to Rule 2019 of the Federal Rules of Bankruptcy Procedure (“Bankruptcy

Rule 2019”) in connection with LS&E’s representation of a group of lenders (the “Senior Lender

Group”) party to that certain Second Amended and Restated Intercreditor Agreement, dated as of

February 19, 2016, as amended from time to time, among the members of the Senior Lender

Group and acknowledged and agreed by Debtor Republic Metals Corporation (“RMC”), and

respectfully states as follows:




1
             The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
             identification number, include: Republic Metals Refining Corporation, 15 West 47th Street, Suites 206 and
             209, New York, NY 10036 (3194), Republic Metals Corporation, 12900 N.W. 38th Avenue, Miami, FL
             33054 (4378), and Republic Carbon Company, LLC, 5295 Northwest 163rd Street, Miami Gardens, FL
             33014 (5833).
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       1.      The Senior Lender Group is comprised of the following institutions:

Coöperatieve Rabobank U.A., New York Branch (“Rabobank”), Brown Brothers Harriman &

Co., Bank Hapoalim B.M., Mitsubishi International Corporation, ICBC Standard Bank Plc,

Techemet Metal Trading LLC (“Techemet”), Woodforest National Bank and Bank Leumi USA.

       2.      In or around June 2018, Rabobank retained LS&E to represent it in connection

with its claims against and transactions with RMC and its affiliates.

       3.      In or around July 2018, Techemet retained LS&E to represent it in connection

with its claims against and transactions with RMC and its affiliates.

       4.      In or around October 2018, the Senior Lender Group retained LS&E to represent

it connection with its members’ claims against and transactions with RMC and its affiliates,

including any potential bankruptcy or insolvency proceedings. LS&E concurrently resigned as

counsel to Rabobank and Techemet individually in connection with their respective claims

against and transactions with RMC and its affiliates and thereafter has only represented

Rabobank and Techemet in their capacities as members of the Senior Lender Group.

       5.      The members of the Senior Lender Group hold disclosable economic interests in

relation to the Debtors. In accordance with Bankruptcy Rule 2019 and based upon information

provided to LS&E by each member of the Senior Lender Group, attached hereto as Exhibit A is a

list of the names, addresses, and the nature and amount of all disclosable economic interests of

each present member of the Senior Lender Group in relation to the Debtors.

       6.      Each member of the Senior Lender Group separately requested that LS&E

represent it in connection with these chapter 11 cases in its capacity as a lender and/or metal

lessor to RMC and its affiliates.




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       7.      As of the date of this Statement, LS&E represents only the interests of the

members of the Senior Lender Group listed on Exhibit A hereto and does not represent or

purport to represent any other entities or interests in connection with these chapter 11 cases.

       8.      LS&E does not hold claims against or interests in the Debtors or their estates.

       9.      LS&E reserves the right to supplement or amend this Statement as necessary in

accordance with the requirements set forth in Bankruptcy Rule 2019.

       10.     LS&E hereby verifies under oath that this Statement is true and accurate, to the

best of the undersigned’s knowledge and belief.

Dated: November 28, 2018                      LUSKIN, STERN & EISLER LLP
       New York, New York
                                              /s/ Michael Luskin
                                              Richard Stern
                                              Michael Luskin
                                              Alex Talesnick
                                              Eleven Times Square
                                              New York, New York 10036
                                              Telephone: (212) 597-8200
                                              Facsimile: (212) 974-3205

                                              Counsel for Senior Lender Group




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                                                   EXHIBIT A2

                 Name                                 Address                       Nature and Amount of
                                                                                Disclosable Economic Interest3
    Coöperatieve Rabobank U.A.,          245 Park Avenue, 37th Floor            $31,730,463.98 principal
    New York Branch                      New York, New York 10167               amount of outstanding debt
                                                                                obligations
    Brown Brothers Harriman &            140 Broadway                           $9,098,340.92 principal amount
    Co.                                  New York, New York 10005               of outstanding debt obligations
    Bank Hapoalim B.M.                   1120 Avenue of the Americas            $11,372,926.15 principal
                                         New York, New York 10036               amount of outstanding debt
                                                                                obligations
    Mitsubishi International             655 Third Avenue                       $54,278,325.84 principal
    Corporation                          New York, New York 10017               amount of outstanding debt
                                                                                obligations
    ICBC Standard Bank Plc               20 Gresham Street                      $20,034,083.29 principal
                                         London, EC2V 7JE                       amount of outstanding debt
                                         United Kingdom                         obligations
    Techemet Metal Trading LLC           6025 Genoa Red Bluff Road              $14,447,158.99 principal
                                         Pasadena, Texas 77507                  amount of outstanding debt
                                                                                obligations
    Woodforest National Bank             1330 Lake Robbins                      $13,647,511.39 principal
                                         Suite 500                              amount of outstanding debt
                                         The Woodlands, TX 77380                obligations
    Bank Leumi USA                       579 Fifth Avenue                       $22,745,852.32 principal
                                         New York, NY 10017                     amount of outstanding debt
                                                                                obligations




2
          Nothing in the Statement and Exhibit A affects the substantive rights of each member of the Senior Lender
          Group to assert claims against the Debtors’ estates, including under any bar date order. In addition to the
          disclosable economic interests identified herein, members of the Senior Lender Group have additional
          claims against the Debtors on account of, among other things, fees, expenses, accrued interest, and
          indemnity obligations.
3
          To the best of LS&E’s knowledge, the information included herein is accurate as of the date hereof. The
          amounts set forth herein include only outstanding principal and do not include accrued or unpaid interest or
          other amounts that may be owing under the applicable credit documents.
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 28th day of November, 2018, I caused a true and correct copy

of the foregoing Verified Statement of Luskin, Stern & Eisler LLP Pursuant to Federal Rule of

Bankruptcy Procedure 2019 to be filed and served through ECF notification upon all parties who

receive notice in this matter pursuant to the Court’s ECF filing system.



                                                      /s/ Michael Luskin
                                                      Michael Luskin




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